                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 In re:
                                                                Chapter 13
 BRANDON HEITMANN,                                              Case No. 24-41956-MAR
                                                                Hon. Mark A. Randon
                   Debtor.
                                                  /
 MOHAMED SAAD,

           Plaintiff,

 v.                                                             Adv. Pro. No. 24-04375-MAR
                                                                Hon. Mark A. Randon
 BRANDON HEITMANN,

           Defendant.

                                                           /

  STIPULATION REGARDING THE DEPOSITION OF HANK BELL ON MAY 7,
                        2025 AT 12:00PM

          The undersigned parties, by and through their attorneys, stipulate that the deposition of

Hank Bell is to proceed on May 7, 2025 at 12:00PM.

          WHEREAS, the Plaintiff issued a subpoena to Hank Bell and he was personally served

with said subpoena on April 3, 2025, to appear for an examination and to produce documents

on April 18, 2025.

          WHEREAS, Plaintiff noticed the deposition of Hank Bell for April 18, 2025. However,

April 18, 2025 is a religious holiday. Accordingly the Parties agree to reschedule the deposition

and production of documents to a different date as more fully set forth in the proposed order.




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Agreed: April 15, 2025




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 BRANDON HEITMANN,                                              Case No. 24-41956-MAR
                                                                Hon. Mark A. Randon
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 MOHAMED SAAD,

           Plaintiff,

 v.                                                             Adv. Pro. No. 24-04375-MAR
                                                                Hon. Mark A. Randon
 BRANDON HEITMANN,

           Defendant.

                                                           /


 ORDER GRANTING STIPULATION REGARDING THE DEPOSITION OF HANK
                 BELL ON MAY 7, 2025 AT 12:00PM

          This matter having come before the Court upon the stipulation between the Parties, for

entry of this Order, and the Court being otherwise duly advised in the premises;


          IT IS HEREBY ORDERED that the deposition of Hank Bell is adjourned to May 7,

2025 at 12:00PM. The examination shall be taken via Zoom video conferencing as stated in

the subpoena.


          IT IS FURTHER ORDERED that on or before May 4, 2025, noon, Hank Bell shall

produce the following documents that he was subpoenaed to produce in regard to the property

located at 921 Crescent Drive, Dearborn (“Property”):




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        1.   All communications with Exigent Landscaping, LLC and/or Brandon Heitmann

             regarding the project at the Property.


        2.   All documents evidencing that you gave Exigent Landscaping, LLC and/or

             Brandon Heitmann authority to apply for permits in the name of your company.


        3.   All documents evidencing that you gave Exigent Landscaping, LLC and/or

             Brandon Heitmann authority to work under your residential builder’s license.


        4.   All documents evidencing that Madison Braunz was an authorized

             representative of Construction Contractors, LLC.




Date:

                                                      __________________________
                                                                    Hon. Mark A. Randon




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